RNH (11/10/15) bls              UNITED STATES BANKRUPTCY COURT                       U.S. BANKRUPTCY COURT
                                         District of Oregon                           DISTRICT OF OREGON
                                                                                            FILED
In re                                           )
 Elbert G Garboden, xxx−xx−8798                 ) Case No. 15−35133−rld7       February 17, 2016
 Sherry L Garboden, xxx−xx−0127                 )                         Clerk, U.S. Bankruptcy Court
Debtor(s)                                       ) NOTICE OF REAFFIRMATION
                                                ) HEARING                         BY bls DEPUTY
                                                )
                                                )
                                                )
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NOTICE IS GIVEN THAT A REAFFIRMATION HEARING WILL BE HELD:

  DATE: 3/9/16                                TIME: 09:00 AM

  LOCATION: US Bankruptcy Court, Courtroom #4, 1001 SW 5th Ave, 7th Floor, Portland, OR 97204


to consider and act upon the following:

Reaffirmation Agreement Between Debtor and Wells Fargo Dealer Services. Filed By Creditor Wells Fargo Dealer
Services. (Nidome, Gabriela)


At the Reaffirmation Hearing, the court will decide whether to approve agreement(s) filed concerning the
debtor's reaffirmation of a debt, redemption of property, or settlement of a nondischargeability claim. The
judge may review any documents that are filed prior to this hearing. Be aware that the judge will not
approve any agreements for a debtor who does not appear by the time of this hearing.

Questions?? Call 503−326−1500                                                    Clerk, U.S. Bankruptcy Court

              NOTICE TO DEBTORS REGARDING REAFFIRMATION AGREEMENTS
There is a helpful video explaining reaffirmation agreements on the Court's website at
www.orb.uscourts.gov. On the home page under Information for Debtors, click on Reaffirmation Hearing
Video.

A Reaffirmation Agreement is an agreement to pay a debt despite the fact that you can discharge that
debt. After your case is concluded, any reaffirmed debts are not discharged, and the creditor can deal with
you as if you had never filed for bankruptcy. If for any reason you do not make the required payments on a
reaffirmed debt, the creditor can sue you and garnish your wages. Moreover, if the debt is a "secured debt"
(most common example is a car loan), not only will the creditor have the right to repossess the property,
but if the property does not sell for enough to pay the reaffirmed debt in full, you may be personally liable
for the remaining balance.

You do not have to reaffirm any debt. Reaffirmation agreements are strictly voluntary, and are not required
under the Bankruptcy Code or other law.

To reaffirm a debt, you must enter into a Reaffirmation Agreement, which must be filed with the Court. The
agreement must be filed within 60 days after the first date set for the meeting of creditors.

In some circumstances, the Court must hold a hearing to consider whether to approve the Agreement. At
the hearing, the judge must find that the Agreement will not impose an undue hardship on you or your
dependents, and also that it is in your best interests. In making that decision, the judge will review the type
of debt, whether or not you can afford to make payments under the agreement, and the reason you are
seeking to keep any property securing the debt. It is usually not in your best interests to reaffirm an
unsecured debt (one not secured by property).


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You have other options in addition to reaffirming the entire debt. First, you may voluntarily repay a debt
despite the fact that you have discharged that debt. Second, on secured debt, you may be able to "redeem"
the property by paying the creditor the fair market value of the property and discharging any remaining
balance. Third, you may be able to negotiate to reduce the amount of the debt and/or interest rate on the
reaffirmed debt. Finally, if there is a large difference between the value of the property and the amount
owing on it, and the creditor will not agree to reduce the balance of the debt, it may be in your best interests
to surrender that property to the creditor. For example, if you owe $10,000 on a car loan, but the car is
worth only $4,000, you may be better off surrendering the car.

If you sign a Reaffirmation Agreement, you can cancel the Agreement at any time before discharge, or
within 60 days after the Agreement is filed with the Court, whichever is later. For the cancellation to be
effective, you must give written notice to the creditor that you are canceling the Agreement, and should file
a copy of the notice with the Court. If you do cancel the Agreement, you may be required to surrender any
property securing the debt.

                                                                                 Clerk, U.S. Bankruptcy Court


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